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EXHIBIT 1
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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

C.A. NO. 07-CV-11693-JLT

PEDRO LOPEZ, ET AL.,
Plaintiffs,

Vv.

CITY OF LAWRENCE, ET AL.,
Defendants

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DEFENDANT CITY OF LOWELL’S PROPOSED
COURT ORDER

1. City of Waltham, Police Department (“WPD”) to provide a complete and
unredacted copy of the personnel file of Robert Alvarez to the City of Lowell,
Law Department. This request includes but is not limited to the following
documents: WPD job application, FBI Department of Justice fingerprint
application, and any and all document relating to his race and/or ethnicity.

2, Town of Groton, Police Department (“GPD”) to provide a complete and
unredacted copy of the personnel file of Robert Alvarez to the City of Lowell,
Law Department. This request includes but is not limited to the following
documents: GPD job application, FBI Department of Justice fingerprint
application, and any and all document relating to his race and/or ethnicity.

Joseph L. Tauro
US. District Court

Dated:

